                   Case 5:22-mj-01611 Document 1 Filed on 08/26/22 in TXSD Page 1 of 1
 AO 91 (Rev. 11/11) Criminal Complaint


                                         UNITED STATES DISTRICT COURT
                                                                    for the
                                                       SouthernDistrict
                                                   __________   Districtofof__________
                                                                             Texas

                   United States of America                             )
                              v.                                        )
                                                                        )       Case No.
            Victorina ALTAMIRANO-Hernandez (20)                         )                               L-22-MJ-
                    Tehuacan, Puebla, Mexico                            )
                                                                        )
                                                                        )
                           Defendant(s)


                                                   CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of                  August 25, 2022                  in the county of                       Webb                  in the
     Southern          District of             Texas              , the defendant(s) violated:

             Code Section                                                          Offense Description
                                              Whoever, in any matter within the jurisdiction of the executive, legislative, or judicial branch of the
18 USC 1001                                   Government of the United States, knowingly and willfully
                                              (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;
                                              (2) makes any materially false, fictitious, or fraudulent statement or representation; or
                                              (3) makes or uses any false writing or document knowing the same to contain any materially false,
                                              fictitious, or fraudulent statement or entry.

          This criminal complaint is based on these facts:
On or about August 25, 2022, at approximately 5:12 pm., defendant, Victorina ALTAMIRANO-Hernandez, a citizen & national of
Mexico applied for admission into the United States at the Gateway to the Americas Port of Entry in Laredo, Texas, as a pedestrian. At
primary inspection, defendant presented to CBP Officer Camelia C. Cardenas, a Texas Identification Card bearing the name &
photograph of L.B.R. claiming to be such person & a United States Citizen headed to Laredo, Texas. CBP Cardenas noticed facial
inconsistencies between the defendant & the picture on the document presented. Defendant was referred to secondary for further
inspection. At secondary, the name on the Texas ID was queried & it was discovered that the person in the ID had a prior arrest. The
defendant was asked if she had ever been arrested & she replied "no". Under a sworn statement, the defendant identified herself as
Victorina ALTAMIRANO-Hernandez, a citizen & national of Mexico born in Tehuacan, Puebla, Mexico. Defendant admitted she is
not a United States Citizen & that she is not the person on the Texas Identification Card she had presented at primary inspection. Facts
are based on the defendant's sworn statement & records of U.S. Customs & Border Protection. The defendant was paroled into the
United States & an Immigration hold has been placed.

              Continued on the attached sheet.
                                                                                                         /s/ Jose C. Luna
                                                                                                      Complainant’s signature

                                                                                            Jose C. Luna, CBP Enforcement Officer
                                                                                                       Printed name and title

 Sworn to before me and signed in my presence.


 Date:          August 29, 2022
                                                                                                          Judge’s signature

 City and state:                   Laredo, Texas                                      Christopher Dos Santos              ,U.S. Magistrate Judge
                                                                                                       Printed name and title
